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                        UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: PHILIPS RECALLED CPAP, BI-LEVEL                      Master Docket: No. 21-mc-1230-JFC
PAP, AND MECHANICAL VENTILATOR                              MDL No. 3014
PRODUCTS LITIGATION

This document relates to:                                   No. 2:24-cv-01077

PHILIPS RS NORTH AMERICA LLC and
PHILIPS NORTH AMERICA LLC,

                            Plaintiffs,

                      v.

PSN LABS, LLC,

                            Defendant.


              ANSWER AND AFFIRMATIVE DEFENSES TO COMPLAINT



       AND NOW, comes defendant, PSN Labs, LLC, by and through its attorneys, MacDonald,

Illig, Jones & Britton, LLP, and files this Answer and Affirmative Defenses to the Complaint,

stating the following in support:



                                            ANSWER

                                          INTRODUCTION

       1.      Paragraph 1 is denied. In further response, pursuant to PSN Labs, LLC's ("PSN

Labs") review of various documents and communications, Philips RS North America, LLC

("Philips RS") and/or Philips North America LLC ("Philips NA") (collectively, "Philips" or

"Plaintiffs") as early as 2016 began investigating degradation of the polyester-based polyurethane


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("PE-PUR") foam in Philips' sleep and respiratory care devices. In 2018, Philips RS initiated

testing to study the PE-PUR foam, and received results classified as failing. Specifically, three

substances were identified: formaldehyde; Phenol, 2,6-bis; and benzoic acid-ethoxy-,ethyl ester.

PSN Labs, following its engagement over two years later, identified two of these three substances

with results classified as not meeting the requirements of ISO 18562-1:2017 or ISO 18652-1:2024,

which required additional analysis for hazard characterization and rendered PSN Labs unable to

write a successful risk assessment for Philips devices containing PE-PUR.

       The testing PSN Labs conducted had nothing to do with how Philips sleep and respiratory

care devices behaved over time (i.e., the foam degradation), which was the issue that led to the

Class I June 2021 recall as acknowledged by Philips' CEO. Philips consistently used the results

of PSN Labs testing on out-of-the-box (i.e., new) units to support its position, which conflates PSN

Labs testing with the foam degradation issue that actually led to the recall.           Philips has

acknowledged, and the U.S. Food and Drug Administration (FDA) has agreed, that the PE-PUR

foam found in Philips' devices degrades over time and "can result in serious injury which can be

life-threatening, cause permanent impairment, and/or require medical intervention to preclude

permanent impairment." Further, the FDA cited, and again Philips agreed, that Philips failed to

follow required processes to deliver the devices to consumers. Instead of addressing these errors

and moving forward, Philips has continued to mischaracterize testing results in an effort to conceal

the ultimate foam degradation issue. Philips, similar to its attempts against other third parties, is

attempting to deflect attention to PSN Labs and away from Philips' own failures, negligence,

concealment, and recklessness.

       2.      Paragraph 2 is admitted in part and denied in part. It is admitted that, at Philips'

request, Philips NA and PSN Labs, then known as Advanced Solutions Network, LLC, executed

a Quality Agreement dated July 31, 2019 (the "2019 Quality Agreement"), for services identified


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in Philips' General Conditions of Purchase, Version May 2018, related to Philips' manufacturing,

distribution, and/or commercialization of medical device products. PSN Labs offers, as one of

multiple service lines, ISO-accredited testing of materials and products.

       The remainder of Paragraph 2 is denied. PSN Labs was certified to ISO 18562-3:2017

standards on March 20, 2019, and thereafter engaged with Philips RS on potential ISO 18562

work. Philips held multiple meetings, including two on-site inspections of PSN Labs, prior to the

parties' initial proposal for ISO 18562 testing dated December 28, 2020 related to devices

containing PE-PUR foam. Further, the 2019 Quality Agreement is a written document that speaks

for itself, and PSN Labs denies any interpretation and/or characterization of its contents that is

inconsistent with its express provisions.

       3.      Paragraph 3 is admitted in part and denied in part. It is admitted that, following

Philips' purchase order, PSN Labs submitted to Philips several proposals between December 2020

and July 2021 for various scopes of work related to ISO 18562 testing of Philips' sleep and

respiratory care devices containing PE-PUR foam. It is further admitted that Matthew Heidecker,

Ph.D. was the Project Manager under each Philips' proposal.

       The remainder of Paragraph 3 is denied. In further response, Philips failed to communicate

whether the device testing to be conducted by PSN Labs was for purposes of 510k clearance, post-

market risk assessment (PMRA), to inform a corrective and preventative action plan or CAPA

(which was in fact the case and had been active since 2019), or otherwise. Philips' claims against

PSN Labs fail because, by January 2021, Philips had already determined through in vitro assays

that the degraded foam was mutagenic. In addition, testing by other facilities prior to PSN Labs'

work confirmed that the PE-PUR foam failed genotoxicity and volatile organic compound (VOC)

testing. These genotoxicity and VOC test results alone should have been enough to trigger a recall

of on-market devices -- but Philips failed to move forward with same.            Further, Philips'


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acknowledged to the public in its Q1 2021 Quarterly Report that the company had identified

"possible risks" associated with "the sound abatement foam," specifically, foam degradation. PSN

Labs consistently advised Philips that clarity on the time duration of PE-PUR foam degradation

was critical for PSN Labs to complete a full risk assessment according to ISO 10993-17. In

response, Philips advised PSN Labs that Philips did not want to create more negative paperwork

by conducting more testing. Accordingly, PSN Labs did not opine as to whether Philips' devices

containing PE-PUR would meet the FDA requirements for biological safety according to ISO

10933.

         4.     Paragraph 4 is denied. In further response, PSN Labs did not commit "egregious

errors" in any testing and/or associated analysis as alleged by Philips. Prior to PSN Labs' work for

Philips RS, Philips was already internally aware of consumer complaints (approximately 222,000

such complaints, per the FDA's findings); had identified risks associated with Philips' sleep and

respiratory care devices as communicated by internal Philips' employees and third-party testing

facilities; and the Department of Justice's investigation had already commenced. Quite simply,

prior to PSN Labs' work, Philips was aware that a recall of its sleep and respiratory care devices

was necessary. PSN Labs essentially provided one report, which pales in comparison to the dozens

of in vivo and in vitro assays that Philips has run on degraded and exemplar PE-PUR foam, most

of which failed the requirements of the ISO standard. PSN Labs' one report is not the reason or

the basis for the Philips recall. Philips had been researching the issue since at least 2016 and did

not engage PSN Labs to test PE-PUR devices (i.e., DreamStation) until 2021. PSN Labs did not

issue its initial draft report (early, at Philips' insistence) until March 2021. PSN Labs testing report

conclusions were clear and repeatedly identified hazards that could not be characterized and/or

recommended additional testing to confirm any findings. PSN Labs also indicated that the device,

and more specifically the PE-PUR foam within, is known to break down over time (although what


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time period was not clear, and Philips declined further testing to identify same). Further, given the

known foam degradation, PSN Labs could not report the device was "safe" in conformance with

ISO standards, which require that the device be biologically safe across its lifetime.

       VOC Testing/Dimethyl Diazene - Volatile organic compound (VOC) testing is governed

               by ISO 18562, which was formally adopted in 2017. This test requires the

               collection and analysis of substances considered to be VOCs. PSN Labs and other

               similarly accredited facilities use three techniques for VOC testing: targeted high-

               pressure liquid chromatography (HPLC), discovery, and targeted GC-MS (Gas

               Chromatography, Mass-Spectrometry). PSN Labs screened for VOCs in Philips'

               device via GC-MS, and dimethyl diazene was detected as a "tentative" assignment.

               A tentative identification means that data has been obtained that is consistent with

               a class of molecule, not a specific one. No reference standard was available to

               confirm the assessment, and out of an abundance of caution, PSN Labs identified

               the tentative VOC and concluded additional testing was necessary to confirm its

               presence. Philips refused additional testing. Regardless, PSN Labs' tentative

               identification of dimethyl diazene does not/did not change the outcome or otherwise

               enable PSN Labs to prepare a full risk assessment according to ISO 10993-17,

               which it was unable to do given the PE-PUR foam degradation. Further, PSN Labs'

               tentative identification of dimethyl diazene paled in comparison to the patient safety

               risk of Phenol, 2,6-bis.

       Ozone - As required by ISO 18562-1:2017, PSN Labs utilized calibrated chemical

               indicating sensors to test for inorganic gases and detected ozone on the sensor on

               March 17, 2021.       PSN Labs reported this result to Philips; there was no

               interpretation of the result provided by PSN Labs. Via conference call, Philips


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               requested that PSN Labs omit the ozone finding as it was "inconvenient," and PSN

               Labs refused to do so. In one study alone, PSN Labs tested 26 Philips devices

               containing PE-PUR foam, and ozone via the chemical indicating sensor was

               detected in seven, or approximately 27% of the devices. These findings were

               confirmed by three different sensors and reported as either ozone or a chemical

               interference detected as ozone output.

       Risk assessment - PSN Labs clearly and consistently stated in its reports that no laboratory

               or toxicologist can write a risk assessment for a device with PE-PUR foam that is

               known to degrade in the field without an understanding of when and under what

               circumstances that degradation begins and how it degrades over time. PSN Labs

               also clearly and consistently stated that the hazards had not been fully characterized.

               Stating otherwise would potentially have made PSN Labs a subject of the

               Department of Justice investigation along with Philips.

       Phenol, 2,6-bis - Again, PSN Labs clearly and consistently advised Philips that the manner

               of testing for the devices was not analogous to how the devices operated in real-

               life, and that various testing times may lead to different VOC profiles. The finding

               of Phenol, 2,6-bis alone, pursuant to ISO standards, is indicative of potential risk to

               the patient that outweighs any noise abatement benefit of the PE-PUR foam

               component.

       Quite simply, from PSN Labs' perspective, the data is the data, and what a client chooses

to do with same is at their discretion. In the underlying matter, Philips had discretion to heed PSN

Labs' report and conduct further testing, but Philips declined and continued to conceal the defective

nature of its sleep and respiratory care devices. Regardless, it did not matter what PSN Labs' data

revealed, because Philips already knew a recall was necessary.


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       5.      Paragraph 5 is denied. In further response, see Paragraph 4, above. Further, PSN

Labs' conclusions were simple: the hazards had not been fully characterized and thus PSN Labs

recommended additional testing. Specifically, PSN Labs recommended testing outside the scope

of a biocompatibility test to ensure PSN Labs could share more information and remain impartial.

Philips, repeatedly, refused. PSN Labs had nothing to hide and consistently delivered the same

message to Philips throughout the parties' relationship: PSN Labs would not and could not write

a successful risk assessment for the PE-PUR foam. Further, it is Philips, not PSN Labs, who

covered up its mistakes by masking, skewing, and cherry-picking favorable test results in efforts

to minimize and hide from the public and regulatory bodies (e.g., FDA, TUV, etc.) significant risks

that had long been known to Philips.

       6.      Paragraph 6 is denied. In further response, PSN Labs provided to Philips all data

as required by FDA reporting and in accordance with ISO/IEC 17025 compliance. At the request

of Philips, PSN Labs provided additional data outside the scope of that required under PSN Labs'

proposal and corresponding statements of work. Philips had and has no rights to further raw data

pursuant to the terms of the 2019 Quality Agreement nor is providing such data standard practice

within the industry. Further, the requests for this raw data were communicated to PSN Labs in

such a manner that PSN Labs felt pressure from Philips to change and/or revise previously

authored reports, which would have been a fundamental violation of the quality principles to which

PSN Labs has and will continue to hold itself. PSN Labs refused to make available data that could

compromise PSN Labs' independence and accreditation, which is predicated on demonstrable

proof that no external sponsor influences the outcomes of tests or evaluations. Specifically,

Section 5.1 of the 2019 Quality Agreement requires PSN Labs to conduct all Philips testing in

accordance with ISO/IEC 17025, which in turn mandates that PSN Labs evaluate risks to

impartiality on an on-going basis. PSN Labs encountered numerous red flags during Philips'


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repeated requests for the raw data that led PSN Labs to suspect that Philips might use the raw data

to pressure PSN Labs to modify its report. Accordingly, PSN Labs denied Philips' raw data

requests to preserve the impartiality of PSN Labs' test reports and remain compliant with ISO/IEC

17025. Per the 2019 Quality Agreement, this mandate took precedence over any assertion that

Philips was contractually entitled to the raw data. Further, Philips has admitted (on its own website)

that it has worked with independent laboratories to harmonize testing thresholds -- exactly the type

of action that PSN Labs refused to engage in, as harmonization is in violation of ISO standards.

       With respect to Shayne Gad, Ph.D., a nationally recognized expert on toxicology, PSN

Labs retained Dr. Gad in June 2021 after obtaining approval from Philips to do so. Dr. Gad

reviewed and provided commentary on the findings of three independent laboratories: PSN Labs,

UL, and Intertek. Dr. Gad's conclusion was simple: the device should not be sold with the PE-PUR

foam. With respect to his review of PSN Labs, Dr. Gad confirmed PSN Labs' assessment of

dimethyl diazene. While Dr. Gad suggested that the toxicology threshold of concern for Phenol,

2,6-bis was different than that identified by PSN Labs, the tested device nevertheless failed under

the recalculated threshold. Critically, Dr. Gad determined the PE-PUR foam was genotoxic, one

of the most serious failings.

       7.      Paragraph 7 is denied. In further response, as early as 2016, Philips knew of the

PE-PUR foam degradation issue yet failed to proceed with efforts to review same until more than

five years later. Further, and as mentioned above, a risk assessment suggesting safety cannot be

completed for a device known to degrade in the field without knowing when and how the

degradation occurs.

       8.      Paragraph 8 is denied. In further response, Philips had more than five years from

the time of the first documented instances of degradation to assess the risk, but instead spent those

years answer shopping in efforts to avoid publicly revealing an obvious hazard. No later than


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2020, and still prior to PSN Labs' work, Philips' own employees recognized this issue and were

calling for a recall.

        9.      Paragraph 9 is denied. In further response, see Paragraphs 4 through 8, above.

Further, if Philips sustained damages by reason of the matters alleged in the Complaint, which is

denied, then said damages were caused in whole or in part by Philips' own breach of contract

and/or Philips' failure to properly manage its product line, and were not caused or contributed to

in any manner by any alleged fault, breach of contract, breach of warranty, or negligence of PSN

Labs, its officers, agents, contractors, servants, employees, or others for whom it was responsible.



                                            PARTIES

        10.     PSN Labs lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 10 and, on that basis, denies them.

        11.     PSN Labs lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 11 and, on that basis, denies them.

        12.     Paragraph 12 is admitted. In further response, effective November 2, 2023,

Advanced Solutions Network, LLC was amended to PSN Labs, LLC, a Pennsylvania limited

liability company with a principal place of business in Erie, Pennsylvania.



                                 JURISDICTION AND VENUE

        13.     Paragraph 13 is admitted in part and denied in part. PSN Labs lacks sufficient

knowledge or information to form a belief as to the truth of the allegations contained in Paragraphs

15 and 16, below, and, on that basis, denies them and the resulting legal conclusion of diversity.

However, assuming diversity of citizenship, it is admitted that this Court has jurisdiction pursuant

to 28 U.S.C. § 1332.


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       14.     Paragraph 14 is admitted.

       15.     PSN Labs lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 15 and, on that basis, denies them.

       16.     PSN Labs lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 16 and, on that basis, denies them.

       17.     Paragraph 17 is admitted.

       18.     Paragraph 18 is admitted. In further response, the Western District of Pennsylvania

has personal jurisdiction over PSN Labs pursuant to Federal Rule of Civil Procedure 4(k) and

Pennsylvania's long-arm statute, 42 Pa. Cons. Stat. § 5322.

       19.     Paragraph 19 is admitted. In further response, pursuant to Philips' General

Conditions of Purchase, Version May 2018, the parties consented to the personal jurisdiction of

courts of the Commonwealth of Pennsylvania.

       20.     Paragraph 20 is admitted. In further response, venue is proper in the Western

District of Pennsylvania pursuant to the terms of the 2019 Quality Agreement, Philips' General

Conditions of Purchase, Version May 2018, and 28 U.S.C. § 1391.



                                 FACTUAL BACKGROUND

       21.     PSN Labs lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 21 and, on that basis, denies them. Further, Paragraph

21 states expert opinion to which no response is necessary. To the extent that a response is deemed

necessary, the averments therein are specifically denied.

       22.     Paragraph 22 is admitted in part and denied in part. It is admitted that part of PSN

Labs' scope of work for Philips included testing of specific devices related to the PE-PUR foam,

and ozone impact on the foam's degradation. The remainder of Paragraph 22 is denied. In further


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response, prior to PSN Labs' work for Philips, Philips was already internally aware of voluminous

consumer complaints, had already identified risks associated with its sleep and respiratory care

devices as communicated by Philips employees and third-party testing facilities, and the

Department of Justice's investigation had already commenced. Quite simply, prior to PSN Labs'

work, Philips was aware that a recall of its sleep and respiratory care devices was necessary. PSN

Labs' first ISO 18562 test of the PE-PUR foam in a specific device was not until March 2021, and

despite Philips' internal knowledge, PSN Labs was not informed of the reason for the test. PSN

Labs was requested by Philips to perform a standard test to determine whether a patient could be

exposed to hazardous amounts of VOCs, but PSN Labs was not advised at the time of this request

that PSN Labs' testing was in any way related to a possible recall or an assessment of risk of units

presently in the field.

I.      PSN Labs' Engagement

        23.     Paragraph 23 is denied. In further response, it was Philips who first approached

PSN Labs at an industry tradeshow, and PSN Labs completed a small, introductory project

(unrelated to the devices recalled) for Philips in 2018. In June 2018, PSN Labs was invited to the

Philips facilities to conduct a capabilities presentation. Over the next several months, PSN Labs

worked to understand Philips' needs, and ISO 18562 testing was one of those needs, specifically

without background contamination concerns. PSN Labs was not aware of the specific consumer

complaints, internal investigations, and/or specific scope of work requests related to PE-PUR foam

degradation and/or VOC exposures.

        24.     Paragraph 24 is admitted in part and denied in part. It is admitted that Philips NA

and PSN Labs, then known as Advanced Solutions Network, LLC, executed the 2019 Quality

Agreement. The remainder of Paragraph 24 is denied. In further response, prior to execution of

the 2019 Quality Agreement, Philips performed a site audit at PSN Labs, during which Philips'


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auditor had full access to PSN Labs' facility, quality management systems, equipment, documents,

and staff qualifications, and Philips noted zero non-conformances, corrective action requests,

and/or opportunities for improvement. Further, the 2019 Quality Agreement is a written document

that speaks for itself, and PSN Labs denies any interpretation and/or characterization of its contents

that is inconsistent with its express provisions. Further, Paragraph 24 contains a conclusion of law

to which no response is necessary. To the extent that a response is deemed necessary, those

averments are specifically denied.

       25.     Paragraph 25 is denied. In further response, Philips failed to abide by the provisions

of the 2019 Quality Agreement by failing to articulate and/or otherwise disclose the reasons for

testing of the PE-PUR foam. Further, the 2019 Quality Agreement is a written document that

speaks for itself, and PSN Labs denies any interpretation and/or characterization of its contents

that is inconsistent with its express provisions. Further, Paragraph 25 contains conclusions of law

to which no response is necessary. To the extent that a response is deemed necessary, those

averments are specifically denied.

       26.     Paragraph 26, inclusive of subparagraphs (a) through (c), is denied. In further

response, prior to execution of the 2019 Quality Agreement, Philips performed a site audit at PSN

Labs, during which Philips' auditor had full access to PSN Labs' facility, quality management

systems, equipment, documents, and staff qualifications, and Philips noted zero non-

conformances, corrective action requests, and/or opportunities for improvement. Further, the 2019

Quality Agreement's reference to ISO 13485, Section 7.6 is invalid as it relates to PSN Labs'

recordkeeping, which is governed by PSN Labs' accreditation under ISO/IEC 17025: 2017.

Further, PSN Labs was advised by its accreditor (Perry Johnson Laboratory Accreditation, Inc.

["PJLA"]) that any further transfer of information (the "raw data" as alleged in Philips' Complaint)

would be an infringement of clause 4.1 of ISO/IEC 17025:2017 related to impartiality. Further,


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the 2019 Quality Agreement is a written document that speaks for itself, and PSN Labs denies any

interpretation and/or characterization of its contents that is inconsistent with its express provisions.

Further, Paragraph 26 contains conclusions of law to which no response is necessary. To the extent

that a response is deemed necessary, those averments are specifically denied. It is further denied

that PSN Labs in any way failed to perform in accordance with the parties' Quality Agreement. It

is further denied that the alleged breach by PSN Labs of certain conditions in the performance of

services was the cause of the Philips' alleged injuries and/or damages. Strict proof is demanded at

the time of trial. In further response, Philips' inclusion of footnotes throughout the Complaint does

not comply with Federal Rule of Civil Procedure 10(b), requiring that allegations be stated "in

Numbered paragraphs, each limited as far as practicable to a single set of circumstances." As such,

no response is required to the footnotes, and they would be properly stricken. See Holmes v. Gates,

2010 WL 956412, at *1 (M.D. Pa. Mar. 11, 2010), aff'd. 403 F. App'x 670 (3d Cir. 2010). To the

extent that any response to footnote 1 of Paragraph 25 is required, the averment contained within

the footnote is admitted.



II.    Philips' Improper Allegation of PSN Labs' Reckless and Grossly Negligent Conduct

       27.     Paragraph 27 is denied. In further response, there was never communication from

Philips as to the purpose of the requested testing, e.g., what it would be used for and/or how it

would impact any recall. Philips did not advise PSN Labs that Philips was considering any recall

until after PSN Labs provided initial reports at the end of April 2021. Further, had Philips

communicated to PSN Labs the purpose for the testing, PSN Labs would have declined the work

as PSN Labs was not then nor was it ever able to complete a full risk assessment according to ISO

10993-17 independent of the testing outcome. Further, the 2019 Quality Agreement and Philips'

purchase orders for testing services are written documents that speak for themselves, and PSN


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Labs denies any interpretation and/or characterization of their contents that is inconsistent with

their express provisions. Further, Paragraph 27 contains conclusions of law to which no response

is necessary. To the extent that a response is deemed necessary, those averments are specifically

denied. It is further denied that PSN Labs in any way failed to perform in accordance with the

2019 Quality Agreement. It is further denied that the alleged breach of certain conditions in the

performance of services was the cause of the Philips' alleged injuries and/or damages. Strict proof

is demanded at the time of trial.



       A.      Philips' Improper Allegations of PSN Labs' Mistaken Detection of Dimethyl
               Diazene

       28.     Paragraph 28 is denied. In further response, PSN Labs' conclusions were simple:

the devices' hazards had not been fully characterized. PSN Labs recommended additional testing

to inform any risk assessment, but Philips repeatedly refused. In further response, Philips' inclusion

of footnotes throughout the Complaint does not comply with Federal Rule of Civil Procedure

10(b), requiring that allegations be stated "in Numbered paragraphs, each limited as far as

practicable to a single set of circumstances." As such, no response is required to the footnotes,

and they would be properly stricken. See Holmes v. Gates, 2010 WL 956412, at *1 (M.D. Pa.

Mar. 11, 2010), aff'd. 403 F. App'x 670 (3d Cir. 2010). To the extent that any response to footnote

2 of Paragraph 28 is required, the averment contained within the footnote is admitted.

       29.     Paragraph 29 is denied. In further response, PSN Labs' conclusions were simple:

the devices' hazards had not been fully characterized. PSN Labs recommended additional testing

to inform any risk assessment, but Philips repeatedly refused. Further, the revision (Rev D) to PSN

Labs' report was at the request of and incorporated the comments of Philips' contract toxicologist,

who in January 2021 agreed that the degraded PE-PUR foam was not biocompatible to take "a

more aggressive stance" on dimethyl diazene in the direction of patient safety. This was a clear
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implication by Philips' contract toxicologist, prior to PSN Labs' engagement, that Philips devices

containing PE-PUR foam needed to be recalled.



       B.      PSN Labs' Expedited VOC Testing

       30.     Paragraph 30 is denied. In further response, Philips again mischaracterizes the

issue, which relates to degraded (not pristine) foam complaints well prior to PSN Labs' testing of

the devices at issue. Further, the multiple revisions to PSN Labs' Report were all at the request of

Philips: Rev A was requested by Philips to see preliminary results; Rev B was a preliminary report

requested by Philips "as soon as humanly possible"; Rev C was requested by Philips to reduce the

use exposure, in contravention to FDA-accepted modulation (at issue in the ultimate recall, but

further conflated by Philips extrapolating new PE-PUR foam results to degraded results); Rev D

was requested by Philips' contract toxicologist to take a "more aggressive stance" on dimethyl

diazene (the first time dimethyl diazene was at issue because PSN Labs had initially passed

dimethyl diazene as "tentative" in Rev C); Rev E included the full VOC profile (which included

Phenol, 2,6-bis) as part of PSN Labs' normal reporting profile; Rev F to build a multipoint standard

curve to quantify Phenol, 2,6-bis (although Philips' requested time of exposure -- 8 hours versus

24 hours -- made little sense); and Rev G at the request of Philips to separate risks into "acute"

versus "chronic." None of the requested revisions changed the overall outcome. In further

response, Philips' inclusion of footnotes throughout the Complaint does not comply with Federal

Rule of Civil Procedure 10(b), requiring that allegations be stated "in Numbered paragraphs, each

limited as far as practicable to a single set of circumstances." As such, no response is required to

the footnotes, and they would be properly stricken. See Holmes v. Gates, 2010 WL 956412, at *1

(M.D. Pa. Mar. 11, 2010), aff'd. 403 F. App'x 670 (3d Cir. 2010). To the extent that any response

to footnote 3 of Paragraph 30 is required, the averment contained within the footnote is admitted.


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       31.     Paragraph 31 is denied. In further response, as required by ISO 18562-1:2017, PSN

Labs utilized calibrated chemical indicating sensors for testing of inorganic gases and detected

ozone on the sensor on March 17, 2021. PSN Labs reported this result to Philips; there was no

interpretation of the result provided by PSN Labs. Via conference call, Philips requested that PSN

Labs omit the ozone finding as it was inconvenient, and PSN Labs refused to do so. In one study

alone, PSN Labs tested 26 Philips' devices containing PE-PUR foam, and ozone was detected by

chemical indicating sensors in seven, or approximately 27% of the devices. This result was

confirmed by three different sensors and reported as either ozone or a chemical interference

detected as ozone. PSN Labs reported that, in either scenario, VOC testing was not capturing the

full extent of risk to patient safety. In further response, Philips' inclusion of footnotes throughout

the Complaint does not comply with Federal Rule of Civil Procedure 10(b), requiring that

allegations be stated "in Numbered paragraphs, each limited as far as practicable to a single set of

circumstances." As such, no response is required to the footnotes, and they would be properly

stricken. See Holmes v. Gates, 2010 WL 956412, at *1 (M.D. Pa. Mar. 11, 2010), aff'd. 403 F.

App'x 670 (3d Cir. 2010). To the extent that any response to footnote 4 of Paragraph 31 is required,

the averment contained within the footnote is admitted.

       32.     Paragraph 32 is denied. In further response, the multiple revisions were all at the

request of Philips: Rev A was requested by Philips to see preliminary results; Rev B was a

preliminary report requested by Philips "as soon as humanly possible"; Rev C was requested by

Philips to reduce the use exposure, in contravention to FDA-accepted modulation (at-issue in the

ultimate recall, but further conflated by Philips extrapolating new PE-PUR foam results to

degraded results); Rev D was requested by Philips' contract toxicologist to take a "more aggressive

stance" on dimethyl diazene (the first time dimethyl diazene was at issue because PSN Labs had

initially passed dimethyl diazene as "tentative" in Rev C); Rev E included the full VOC profile


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(which included Phenol, 2,6-bis) as part of PSN Labs' normal reporting profile; Rev F at the request

of Philips to build a multipoint standard curve to properly quantify Phenol, 2,6-bis; and Rev G at

the request of Philips to separate risks into "acute" versus "chronic." None of the requested

revisions changed the overall outcome. None of the requested revisions constituted a full risk

assessment according to ISO 10993-17. None of the requested revisions impacted the recall, which

was due to PE-PUR foam degradation.

       33.     Paragraph 33 is denied. In further response, the multiple revisions were all at the

request of Philips: Rev A was requested by Philips to see preliminary results; Rev B was a

preliminary report requested by Philips "as soon as humanly possible"; Rev C was requested by

Philips to reduce the use exposure, in contravention to FDA-accepted FDA modulation (at-issue

in the ultimate recall, but further conflated by Philips extrapolating new PE-PUR foam results to

degraded results); Rev D was requested by Philips' contract toxicologist to take a "more aggressive

stance" on dimethyl diazene (the first time dimethyl diazene was at issue because PSN Labs had

initially passed dimethyl diazene as "tentative" in Rev C); Rev E included the full VOC profile

(which included Phenol, 2,6-bis) as part of PSN Labs' normal reporting profile; Rev F at the request

of Philips to build a multipoint standard curve to properly quantify Phenol, 2,6-bis; and Rev G at

the request of Philips to separate risks into "acute" versus "chronic." None of the requested

revisions changed the overall outcome. None of the requested revisions constituted a full risk

assessment according to ISO 10993-17. None of the requested revisions impacted the recall, which

was due to PE-PUR foam degradation. Further, the finding of Phenol, 2,6-bis, alone, pursuant to

ISO standards is indicative of potential risk to the patient that outweighs any benefit of the PE-

PUR foam component. Further, Philips has acknowledged (on its own website) that it has worked

with independent laboratories to harmonize thresholds, which is in violation of ISO standards.

Even setting all of the above aside, the fact remains that the PE-PUR foam degrades, which is the


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cause of the recall -- regardless of any initial emission that had not been fully characterized by

PSN Labs. In further response, Philips' inclusion of footnotes throughout the Complaint does not

comply with Federal Rule of Civil Procedure 10(b), requiring that allegations be stated "in

Numbered paragraphs, each limited as far as practicable to a single set of circumstances." As such,

no response is required to the footnotes, and they would be properly stricken. See Holmes v. Gates,

2010 WL 956412, at *1 (M.D. Pa. Mar. 11, 2010), aff'd. 403 F. App'x 670 (3d Cir. 2010). To the

extent that any response to footnotes 5 and 6 of Paragraph 33 is required, the averments contained

within those footnotes are admitted in part and denied in part. In further response, footnote 5 is

admitted. Footnote 6 is denied. In further response, Philips continually failed to consider all

published research on Phenol, 2,6-bis, which is exemplified in Philips' summation, assumptions,

and references as set forth in footnote 6.

          34.   Paragraph 34 is denied. In further response, PSN Labs used multiple methods to

risk assess Phenol, 2,6-bis, and in Rev E showed the progression of calculations as PSN Labs

conducted additional research on the molecule -- as PSN Labs' report confirms, "multiple

conservative methods were used to risk assess the Phenol, 2,6-bis." PSN Labs did not report that

Phenol, 2,6-bis was "mutagenic" or "a mutagen." What PSN Labs did report was that this specific

molecule has a piece of its chemistry (its actual structure) that in many other molecules has caused

those molecules to be genotoxic and/or mutagenic. Meaning, from a toxicological weight of

evidence approach, classifying and risk assessing the molecule as having the potential to be

genotoxic and/or mutagenic with accompanying appropriate thresholds is the proper course of

action.

          35.   Paragraph 35 is denied. In further response, PSN Labs labeled Phenol, 2,6-bis as a

hazard that "had not been characterized" and suggested additional testing, but Philips repeatedly




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refused. PSN Labs' conclusion and recommendation is the same conclusion and recommendation

reached by the FDA.



       C.        PSN Labs' Run-In Report

       36.       Paragraph 36 is denied. In further response, this allegation confirms Philips'

continued vacillation between trying to identify risks and refuting findings by testing facilities with

which Philips disagreed -- neither of which Philips communicated to PSN Labs when PSN Labs

commenced its testing. Further, PSN Labs' work was testing of "new" devices as opposed to those

already in the field, which Philips further conflated by extrapolating new PE-PUR foam results to

degraded results. PSN Labs could not and did not write a successful risk assessment for the PE-

PUR foam. PSN Labs clearly communicated this limitation to Philips on or before April 8, 2021.

PSN Labs made no mistakes, and PSN Labs did not provide toxicological conclusions as doing so

would have been inappropriate.

       37.       Paragraph 37 is denied. In further response, this allegation confirms Philips'

continued vacillation between trying to identify risks and refuting findings by testing facilities with

which Philips disagreed -- neither of which was communicated to PSN Labs when it commenced

its testing. Further, PSN Labs tested "new" devices as opposed to those already in the field -- which

was further conflated by Philips extrapolating new PE-PUR foam results to degraded results. PSN

Labs could not and did not write a successful risk assessment for the PE-PUR foam. PSN Labs

clearly communicated this limitation to Philips on or before April 8, 2021. PSN Labs made no

mistakes, and PSN Labs did not provide toxicological conclusions as doing so would have been

inappropriate.

       38.       Paragraph 38 is denied. In further response, this allegation confirms Philips'

continued vacillation between trying to identify risks and refuting findings by testing facilities with


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which Philips disagreed -- neither of which was communicated to PSN Labs when it commenced

its testing. Further, PSN Labs tested "new" devices as opposed to those already in the field, which

was further conflated by Philips extrapolating new PE-PUR foam results to degraded results. PSN

Labs could not and did not write a successful risk assessment for the PE-PUR foam. PSN Labs

clearly communicated this limitation to Philips on or before April 8, 2021. PSN Labs made no

mistakes, and PSN Labs did not provide toxicological conclusions as same were inappropriate.



III.   The Recall

       39.     Paragraph 39 is denied.       In further response, PSN Labs entirely refutes any

allegation that PSN Labs claimed that VOCs could not be stopped by a filter, although it is PSN

Labs' opinion that such a proposal is illogical for the devices containing PE-PUR as any filter

usage would need to be supported by research. This was communicated to Philips, which chose to

do nothing. Further, PSN Labs was one of multiple laboratories with findings that Philips devices

failed VOC tests, the first of which was in 2019, two years prior to PSN Labs' work.

       40.     Paragraph 40 is denied. In further response, this allegation confirms Philips'

continued vacillation between trying to identify risks and refuting findings by testing facilities with

which Philips disagreed -- neither of which was communicated to PSN Labs when it commenced

its testing. Further, PSN Labs tested "new" devices as opposed to those already in the field, which

was further conflated by Philips extrapolating new PE-PUR foam results to degraded results. PSN

Labs could not and did not write a successful risk assessment for the PE-PUR foam. PSN Labs

clearly communicated this limitation to Philips on or before April 8, 2021. PSN Labs made no

mistakes, and PSN Labs did not provide toxicological conclusions as same were inappropriate.

       41.     Paragraph 41 is denied. In further response, this allegation confirms Philips'

continued vacillation between trying to identify risks and refuting findings by testing facilities with


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which Philips disagreed -- neither of which was communicated to PSN Labs when it commenced

its testing. Further, PSN Labs tested "new" devices as opposed to those already in the field, which

was further conflated by Philips extrapolating new PE-PUR foam results to degraded results. PSN

Labs could not and did not write a successful risk assessment for the PE-PUR foam. PSN Labs

clearly communicated this limitation to Philips on or before April 8, 2021. PSN Labs made no

mistakes, and PSN Labs did not provide toxicological conclusions as same were inappropriate.

Further, Philips has, for over three years, tried to walk back the recall, but has been rejected by the

FDA in each attempt to do so, with the FDA stating on May 2, 2022, that it disagreed with Philips'

reclassification of risks and that the approach Philips attempted to state was unsafe.

       42.     Paragraph 42 is denied. In further response, Philips' recall was due to the fact that

the PE-PUR foam degrades as a function of normal use (i.e., during the device's useful life), and

not concerns about VOCs in the as-manufactured state (i.e., beginning of life). If Philips was

concerned about the VOCs in new devices, Philips would have recalled these devices in 2019

(prior to PSN Labs' engagement and work) after the initial testing highlighted severe concerns and

the devices failed VOC tests.



IV.    PSN Labs' Improperly Alleged Post-Recall Misconduct

       43.     Paragraph 43 is denied. In further response, Philips recall was due to the fact that

the PE-PUR foam degrades as a function of normal use (i.e., during the device's useful life), and

not concerns about VOCs in the as-manufactured state (i.e., beginning of life). If Philips was

concerned about the VOCs in new devices, Philips would have recalled these devices in 2019

(prior to PSN Labs' engagement and work) after the initial testing highlighted severe concerns and

failed VOC tests.




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       A.      PSN Labs' Outside Toxicology Consultant

       44.     Paragraph 44 is denied. In further response, with respect to Shayne Gad, Ph.D., a

nationally recognized expert on toxicology, PSN Labs engaged Dr. Gad in June 2021 after

obtaining approval from Philips to do so. Dr. Gad reviewed and provided commentary on the

findings of three independent laboratories: PSN Labs, UL, and Intertek. Dr. Gad's conclusion was

simple: the device should not be sold with the PE-PUR foam. With respect to his review of PSN

Labs, Dr. Gad confirmed PSN Labs' assessment of dimethyl diazene. While Dr. Gad determined

the toxicology threshold of concern for Phenol, 2,6-bis was different than that identified by PSN

Labs, the tested device nevertheless failed under the recalculated threshold. Critically, Dr. Gad

determined the PE-PUR foam was genotoxic, one of the most serious failings. Further, PSN Labs

stated directly and repeatedly that the hazards had not been characterized and that further testing

was recommended.

       45.     Paragraph 45 is denied. In further response, with respect to Shayne Gad, Ph.D., a

nationally recognized expert on toxicology, PSN Labs engaged Dr. Gad in June 2021 after

obtaining approval from Philips to do so. Dr. Gad reviewed and provided commentary on the

findings of three independent laboratories: PSN Labs, UL, and Intertek. Dr. Gad's conclusion was

simple: the device should not be sold with the PE-PUR foam. With respect to his review of PSN

Labs, Dr. Gad confirmed PSN Labs' assessment of dimethyl diazene. While Dr. Gad determined

the toxicology threshold of concern for Phenol, 2,6-bis was different than that identified by PSN

Labs, the tested device nevertheless failed under the recalculated threshold. Critically, Dr. Gad

determined the PE-PUR foam was genotoxic, one of the most serious failings. Further, PSN Labs

stated directly and repeatedly that the hazards had not been characterized and why further testing

was recommended.




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       B.      Findings on Phenol

       46.     Paragraph 46 is denied. In further response, PSN Labs used multiple methods to

risk assess Phenol, 2,6-bis, and in Rev E showed the progression of calculations as PSN Labs

conducted additional research on the molecule. As PSN Labs' report confirms, "multiple

conservative methods were used to risk assess the Phenol, 2,6-bis." PSN Labs did not say and/or

write that Phenol, 2,6-bis was "mutagenic" or "a mutagen." What PSN Labs did say is that this

specific molecule has a piece of its chemistry (its actual structure) that in many other molecules

has caused those molecules to be genotoxic and/or mutagenic. Meaning, from a toxicological

weight of evidence approach, classifying and risk assessing the molecule as having the potential

to be genotoxic and/or mutagenic with accompanying appropriate thresholds is the proper course

of action. While Dr. Gad determined the toxicology threshold of concern for Phenol, 2,6-bis was

different than that identified by PSN Labs, the tested device nevertheless failed under the

recalculated threshold. Critically, Dr. Gad determined the foam was genotoxic, one of the most

serious failings, which confirmed Philips' own in vivo assays. Rarely is the science this clear and

obvious, but in this case it was. Philips' purposefully ignored Dr. Gad's and its own conclusions

in this regard, as was common of Philips with results that were failing or unfavorable. Further,

PSN Labs stated directly and repeatedly that the hazards had not been characterized, which is why

further testing was recommended.

       47.     Paragraph 47 is denied. In further response, PSN Labs used multiple methods to

risk assess Phenol, 2,6-bis, and in Rev E showed the progression of calculations as PSN Labs

conducted additional research on the molecule. As PSN Labs' report confirms, "multiple

conservative methods were used to risk assess the Phenol, 2,6-bis." PSN Labs did not say and/or

write that Phenol, 2,6-bis was "mutagenic" or "a mutagen." What PSN Labs did say is that this

specific molecule has a piece of its chemistry (its actual structure) that in many other molecules


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has caused those molecules to be genotoxic and/or mutagenic. Meaning, from a toxicological

weight of evidence approach, classifying and risk assessing the molecule as having the potential

to be genotoxic and/or mutagenic with accompanying appropriate thresholds is the proper course

of action. Stated another way, the class of molecules, of which Phenol, 2,6-bis is a part, is known

to have the ability to induce genotoxicity and mutagenicity -- rendering PSN Labs' statements in

Rev E, F, and G entirely accurate.

       48.     Paragraph 48 is denied. In further response, PSN Labs is not concerned about its

reputation with Philips. Further, PSN Labs used multiple methods to risk assess Phenol, 2,6-bis,

and in Rev E showed the progression of calculations as PSN Labs conducted additional research

on the molecule -- as PSN Labs' report confirms, "multiple conservative methods were used to risk

assess the Phenol, 2,6-bis."    PSN Labs did not say and/or write that Phenol, 2,6-bis was

"mutagenic" or "a mutagen." What PSN Labs did say is that this specific molecule has a piece of

its chemistry (its actual structure) that in many other molecules has caused those molecules to be

genotoxic and/or mutagenic.     Meaning, from a toxicological weight of evidence approach,

classifying and risk assessing the molecule as having the potential to be genotoxic and/or

mutagenic with accompanying appropriate thresholds is the proper course of action. Stated another

way, the class of molecules, of which Phenol, 2,6-bis is a part, is known to have the ability to

induce genotoxicity and mutagenicity -- rendering PSN Labs' statements in Rev E, F, and G

entirely accurate. Further, the recall was not undertaken because the VOCs in the as-manufactured

device were problematic, and any allegation that article circulation on Phenol, 2,6-bis impacted

the recall is specifically denied. The recall took place because the PE-PUR foam degrades, as

admitted by Philips on its own website. This was also discussed by the FDA: "the devices recalled

by Philips contain a polyester-based polyurethane (PE-PUR) foam that may degrade into particles

that may be ingested or inhaled by device users, and/or may emit volatile organize compounds


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(VOCs) above acceptable thresholds, with potential toxic and carcinogenic effects and other

significant harms." This is further supported because no FDA-approved studies were conducted

to show under what circumstances the PE-PUR foam is safe across the useful lifetime of the device

(i.e., Philips repeatedly tested variables as opposed to testing the PE-PUR devices in any real-life

setting).

        49.    Paragraph 49 is denied. In further response, PSN Labs used multiple methods to

risk assess Phenol, 2,6-bis, and in Rev E showed the progression of calculations as PSN Labs

conducted additional research on the molecule -- as PSN Labs' report confirms, "multiple

conservative methods were used to risk assess the Phenol, 2,6-bis." PSN Labs did not say and/or

write that Phenol, 2,6-bis was "mutagenic" or "a mutagen." What PSN Labs did say is that this

specific molecule has a piece of its chemistry (its actual structure) that in many other molecules

has caused those molecules to be genotoxic and/or mutagenic. Meaning, from a toxicological

weight of evidence approach, classifying and risk assessing the molecule as having the potential

to be genotoxic and/or mutagenic with accompanying appropriate thresholds is the proper course

of action. Stated another way, the class of molecules, of which Phenol, 2,6-bis is a part, is known

to have the ability to induce genotoxicity and mutagenicity -- rendering PSN Labs' statements in

Rev E, F, and G entirely accurate. Further, the recall was not undertaken because the VOCs in the

as-manufactured device were problematic, and any allegation that article circulation on Phenol,

2,6-bis impacted the recall is specifically denied. The recall took place because the PE-PUR foam

degrades, as admitted by Philips on its own website. This was also discussed by the FDA: "the

devices recalled by Philips contain a polyester-based polyurethane (PE-PUR) foam that may

degrade into particles that may be ingested or inhaled by device users, and/or may emit volatile

organize compounds (VOCs) above acceptable thresholds, with potential toxic and carcinogenic

effects and other significant harms." This is further supported because no FDA-approved studies


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were conducted to show under what circumstances the PE-PUR foam is safe across the useful

lifetime of the device (i.e., Philips repeatedly tested variables as opposed to the PE-PUR devices

in any real-life setting).



        C.      Denied Concealment of Prior Mistakes

        50.     Paragraph 50 is denied. Again, Philips created the dimethyl diazene issue and, at

Philips' request, PSN Labs issued Rev D to take a "more aggressive stance" on dimethyl diazene

(the first time dimethyl diazene was at issue because PSN Labs had initially passed dimethyl

diazene as "tentative" in Rev C). PSN Labs provided no explanation of its findings because there

was nothing to report. PSN Labs did not conduct a full toxicological risk assessment having

understood, and communicating to Philips, that a full risk assessment according to ISO 10993-17

or ISO 19562-1 could not be written for a device that is known to degrade. The device degrades –

and violates ISO 10993-1:2018, clause 4.7, which requires the device to be biologically safe across

its lifetime, so no risk assessment can be written. Further, it was never a singular compound that

was an issue. It was the variability of the devices, the plurality of the VOCs, and the known fact

that the foam within the device degrades as a function of normal use.



V.      PSN Labs' Refusal to Return Philips Alleged Property

        51.     Paragraph 51 is denied. In further response, Section 5.1 of the 2019 Quality

Agreement requires PSN Labs to conduct all Philips testing in accordance with ISO/IEC 17025,

which in turn mandates that PSN Labs evaluate risks to impartiality on an on-going basis. PSN

Labs encountered numerous red flags during Philips's repeated requests for the raw data that led

PSN Labs to suspect that Philips might use the raw data to pressure PSN Labs to modify its report.

Accordingly, PSN Labs denied Philips' raw data requests to preserve the impartiality of PSN Labs'


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test reports and remain compliant with ISO/IEC 17025. Per the 2019 Quality Agreement, this

mandate took precedence over any assertion that Philips was contractually entitled to the raw data.

Further, VOC testing is not an in vivo or in vitro assay. It is a theoretical test that takes measured

amounts of VOCs and applies safety factors to determine potential risks. No singular test can

possibly be used to identify all risks to a patient, especially when the test is conducted in a way

that does not mimic the way that the device is used in the field. The devices in question failed in

vivo and in vitro tests before the recall, which clearly identified that a risk existed and needed to

be investigated. The risks likely still have not been fully characterized, so to state that PSN Labs

impacted this process in any way is patently false.

       52.     Paragraph 52 is denied. In further response, Section 5.1 of the 2019 Quality

Agreement requires PSN Labs to conduct all Philips testing in accordance with ISO/IEC 17025,

which in turn mandates that PSN Labs evaluate risks to impartiality on an on-going basis. PSN

Labs encountered numerous red flags during Philips's repeated requests for the raw data that led

PSN Labs to suspect that Philips might use the raw data to pressure PSN Labs to modify its report.

Accordingly, PSN Labs denied Philips' raw data requests to preserve the impartiality of PSN Labs'

test reports and remain compliant with ISO/IEC 17025. Per the 2019 Quality Agreement, this

mandate took precedence over any assertion that Philips was contractually entitled to the raw data.

Further, PSN Labs was advised by its accreditor (Perry Johnson Laboratory Accreditation, Inc.

["PJLA"]) that any further transfer of information (the "raw data" as alleged in Philips' Complaint)

would be an infringement of clause 4.1 of ISO/IEC 17025:2017 related to impartiality. At the time

of the request, PSN Labs was also advised during several exchanges with then-Philips employees

that the request for raw data was Philips' attempt to change the compounds to more favorable

results. Ultimately, it was PSN Labs that suggested Philips' subpoena the data.




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       53.     Paragraph 53 is denied. In further response, Philips issued a supplier corrective

action request (SCAR) on January 19, 2022. The SCAR was premised under Section 5.2 of the

2019 Quality Agreement which states, in part, PSN Labs "shall fully cooperate with all reasonable

requests . . . ." Accordingly, on February 14, 2022, PSN Labs responded, and the SCAR was

closed without further question.     Further, the January 19, 2022 and February 14, 2022

communications are written documents that speak for themselves and PSN Labs denies any

interpretation and/or characterization of their contents that is inconsistent with their express

provisions.

       54.     Paragraph 54 is denied. In further response, and as communicated to Philips on

multiple occasions, PSN Labs maintains a regular electronic data preservation policy of deleting

or overwriting electronic data every six months. This deletion schedule applies to all raw data

stored within the company's equipment, although anything developed for inclusion in reports is

retained in perpetuity. PSN Labs' preservation policy was suspended, as appropriate, following

receipt of a United States Department of Justice subpoena on September 14, 2022, related to

Philips' devices. Accordingly, the oldest raw data that PSN Labs intentionally preserved, and

which was available for production to DOJ and subsequently to Philips, was dated on or around

mid-March 2021.



                                   CLAIMS FOR RELIEF

                    COUNT I - CONTRACTUAL INDEMNIFICATION

       55.     PSN Labs incorporates Paragraph 1 through 54 of this Answer as though set forth

at length herein.

       56.     Paragraph 56 is denied.    In further response, Philips' General Conditions of

Purchase is a written document that speaks for itself, and PSN Labs denies any interpretation


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and/or characterization of its contents that is inconsistent with its express provisions. Further, it is

denied that Philips is entitled to indemnification in any amount by or from PSN Labs. Strict proof

thereof is demanded at time of trial.

         57.        Paragraph 57 is denied. In further response, Paragraph 57 states a conclusion of

law and/or expert opinion to which no response is necessary. To the extent that a response is

deemed necessary, the averments therein are specifically denied. Further, it is denied that Philips

is entitled to indemnification in any amount by or from PSN Labs. Strict proof thereof is demanded

at time of trial.

         58.        Paragraph 58 is denied. In further response, Paragraph 58 states a conclusion of

law and/or expert opinion to which no response is necessary. To the extent that a response is

deemed necessary, the averments therein are specifically denied. Further, it is denied that Philips

is entitled to indemnification in any amount by or from PSN Labs. Strict proof thereof is demanded

at time of trial.

         59.        Paragraph 58 is denied. In further response, Paragraph 58 states a conclusion of

law to which no response is necessary. To the extent that a response is deemed necessary, the

averments therein are specifically denied.         Further, it is denied that Philips is entitled to

indemnification in any amount by or from PSN Labs. Strict proof thereof is demanded at time of

trial.



         WHEREFORE, defendant PSN Labs, LLC respectfully requests that judgment be entered

in its favor and against plaintiffs, Philips RS North America, LLC and Philips North America,

LLC with respect to all claims set forth in the First Count (Contractual Indemnification) of the

Complaint.




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                            COUNT II - BREACH OF CONTRACT
              (Alleged Failure to Provide Contractually Adequate Testing Services)

        60.         PSN Labs incorporates Paragraph 1 through 59 of this Answer as though set forth

at length herein.

        61.         Paragraph 61 is denied. In further response, Paragraph 61 states a conclusion of

law to which no response is necessary. To the extent that a response is deemed necessary, the

averments therein are specifically denied. Further, it is denied that PSN Labs breached any

agreement with Philips, including the 2019 Quality Agreement. Strict proof thereof is demanded

at time of trial.

        62.         Paragraph 62 is denied. In further response, the 2019 Quality Agreement is a

written document that speaks for itself, and PSN Labs denies any interpretation and/or

characterization of its contents that is inconsistent with its express provisions. Further, it is denied

that PSN Labs breached any agreement with Philips, including the 2019 Quality Agreement. Strict

proof thereof is demanded at time of trial.

        63.         Paragraph 63 is denied. In further response, the 2019 Quality Agreement and the

Philips' General Conditions of Purchase are written documents that speak for themselves, and PSN

Labs denies any interpretation and/or characterization of their contents that is inconsistent with

their express provisions. Further, it is denied that PSN Labs breached any agreement with Philips,

including the 2019 Quality Agreement and/or Philips' General Conditions of Purchase. Strict proof

thereof is demanded at time of trial.

        64.         Paragraph 64 is denied. In further response, Paragraph 64 states a conclusion of

law and/or expert opinion to which no response is necessary. To the extent that a response is

deemed necessary, the averments therein are specifically denied. Further, it is denied that PSN

Labs breached any agreement with Philips, including the 2019 Quality Agreement and/or Philips'

General Conditions of Purchase. Strict proof thereof is demanded at time of trial.
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        65.         Paragraph 65 is denied.    In further response, the ISO standards are written

documents that speaks for themselves, and PSN Labs denies any interpretation and/or

characterization of their contents that is inconsistent with their express provisions. Further, it is

denied that PSN Labs breached any agreement with Philips, including the 2019 Quality Agreement

and/or Philips' General Conditions of Purchase. Strict proof thereof is demanded at time of trial.

In further response, Philips' inclusion of footnotes throughout the Complaint does not comply with

Federal Rule of Civil Procedure 10(b), requiring that allegations be stated "in Numbered

paragraphs, each limited as far as practicable to a single set of circumstances." As such, no

response is required to the footnotes, and they would be properly stricken. See Holmes v. Gates,

2010 WL 956412, at *1 (M.D. Pa. Mar. 11, 2010), aff'd. 403 F. App'x 670 (3d Cir. 2010). To the

extent that any response to footnote 7 of Paragraph 65 is required, the averment contained within

this footnote is admitted.

        66.         Paragraph 66 is denied. In further response, Paragraph 66 states a conclusion of

law and/or expert opinion to which no response is necessary. To the extent that a response is

deemed necessary, the averments therein are specifically denied. Further, it is denied that PSN

Labs breached any agreement with Philips, including the 2019 Quality Agreement and/or Philips'

General Conditions of Purchase. Strict proof thereof is demanded at time of trial.

        67.         Paragraph 67 is denied. In further response, Paragraph 67 states a conclusion of

law and/or expert opinion to which no response is necessary. To the extent that a response is

deemed necessary, the averments therein are specifically denied. Strict proof thereof is demanded

at time of trial.

        68.         Paragraph 68 is denied. In further response, Paragraph 68 states a conclusion of

law and/or expert opinion to which no response is necessary. To the extent that a response is

deemed necessary, the averments therein are specifically denied. Further, it is denied that PSN


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Labs breached any agreement with Philips, including the 2019 Quality Agreement and/or Philips'

General Conditions of Purchase. Strict proof thereof is demanded at time of trial.

       69.     Paragraph 69 is denied. In further response, Paragraph 69 states a conclusion of

law and/or expert opinion to which no response is necessary. To the extent that a response is

deemed necessary, the averments therein are specifically denied. Further, it is denied that PSN

Labs breached any agreement with Philips, including the 2019 Quality Agreement and/or Philips'

General Conditions of Purchase. It is further denied that the alleged breach of certain conditions

in the performance of services was the cause of the Philips' alleged injuries and/or damages. Strict

proof thereof is demanded at time of trial.



       WHEREFORE, defendant PSN Labs, LLC respectfully requests that judgment be entered

in its favor and against plaintiffs, Philips RS North America, LLC and Philips North America,

LLC with respect to all claims set forth in the Second Count (Breach of Contract) of the Complaint.



                           COUNT III - BREACH OF CONTRACT
                      (Alleged Failure to Adequately Maintain Records)

       70.     PSN Labs incorporates Paragraph 1 through 69 of this Answer as though set forth

at length herein.

       71.     Paragraph 71 is denied. In further response, Paragraph 71 states a conclusion of

law and/or expert opinion to which no response is necessary. To the extent that a response is

deemed necessary, the averments therein are specifically denied. Further, it is denied that PSN

Labs breached any agreement with Philips, including the 2019 Quality Agreement and/or Philips'

General Conditions of Purchase. Strict proof thereof is demanded at time of trial.

       72.     Paragraph 72 is denied. In further response, the Philips' General Conditions of

Purchase is a written document that speaks for itself, and PSN Labs denies any interpretation
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and/or characterization of its contents that is inconsistent with its express provisions. Further, it is

denied that PSN Labs breached any agreement with Philips, including the 2019 Quality Agreement

and/or Philips' General Conditions of Purchase. Strict proof thereof is demanded at time of trial.

        73.     Paragraph 73 is denied. In further response, the 2019 Quality Agreement and the

ISO standards are written documents that speak for themselves, and PSN Labs denies any

interpretation and/or characterization of their contents that is inconsistent with their express

provisions. Further, it is denied that PSN Labs breached any agreement with Philips, including

the 2019 Quality Agreement. Strict proof thereof is demanded at time of trial.

        74.     Paragraph 74 is denied. In further response, Paragraph 74 states a conclusion of

law and/or expert opinion to which no response is necessary. To the extent that a response is

deemed necessary, the averments therein are specifically denied. Further, it is denied that PSN

Labs breached any agreement with Philips, including the 2019 Quality Agreement and/or Philips'

General Conditions of Purchase. Strict proof thereof is demanded at time of trial.

        75.     Paragraph 75 is denied. In further response, Paragraph 75 states a conclusion of

law and/or expert opinion to which no response is necessary. To the extent that a response is

deemed necessary, the averments therein are specifically denied. Further, it is denied that PSN

Labs breached any agreement with Philips, including the 2019 Quality Agreement and/or Philips'

General Conditions of Purchase. It is further denied that the alleged breach of certain conditions

in the performance of services was the cause of the Philips' alleged injuries and/or damages. Strict

proof thereof is demanded at time of trial.

        76.     Paragraph 76 is denied. In further response, Paragraph 76 states a conclusion of

law to which no response is necessary. To the extent that a response is deemed necessary, the

averments therein are specifically denied. Further, it is denied that PSN Labs breached any

agreement with Philips, including the 2019 Quality Agreement and/or Philips' General Conditions


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of Purchase. It is further denied that the alleged breach of certain conditions in the performance

of services was the cause of the Philips' alleged injuries and/or damages. Strict proof thereof is

demanded at time of trial.

       77.     Paragraph 77 is denied. In further response, Paragraph 77 states a conclusion of

law to which no response is necessary. To the extent that a response is deemed necessary, the

averments therein are specifically denied. Further, it is denied that PSN Labs breached any

agreement with Philips, including the 2019 Quality Agreement and/or Philips' General Conditions

of Purchase. It is further denied that the alleged breach of certain conditions in the performance

of services was the cause of the Philips' alleged injuries and/or damages. Strict proof thereof is

demanded at time of trial.



       WHEREFORE, defendant PSN Labs, LLC respectfully requests that judgment be entered

in its favor and against plaintiffs, Philips RS North America, LLC and Philips North America,

LLC with respect to all claims set forth in the Third Count (Breach of Contract) of the Complaint.



                          COUNT IV - BREACH OF CONTRACT
                        (Alleged Failure to Return Philips' Property)

       78.     PSN Labs incorporates Paragraph 1 through 77 of this Answer as though set forth

at length herein.

       79.     Paragraph 79 is denied. In further response, Paragraph 79 states a conclusion of

law to which no response is necessary. To the extent that a response is deemed necessary, the

averments therein are specifically denied. Further, it is denied that PSN Labs breached any

agreement with Philips, including the 2019 Quality Agreement and/or Philips' General Conditions

of Purchase. It is further denied that the alleged breach of certain conditions in the performance



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of services was the cause of the Philips' alleged injuries and/or damages. Strict proof thereof is

demanded at time of trial.

       80.     Paragraph 80 is denied. In further response, Paragraph 80 states a conclusion of

law to which no response is necessary. To the extent that a response is deemed necessary, the

averments therein are specifically denied. Further, it is denied that PSN Labs breached any

agreement with Philips, including the 2019 Quality Agreement and/or Philips' General Conditions

of Purchase. It is further denied that the alleged breach of certain conditions in the performance

of services was the cause of the Philips' alleged injuries and/or damages. Strict proof thereof is

demanded at time of trial.

       81.     Paragraph 81 is denied. In further response, Paragraph 81 states a conclusion of

law to which no response is necessary. To the extent that a response is deemed necessary, the

averments therein are specifically denied. Further, it is denied that PSN Labs breached any

agreement with Philips, including the 2019 Quality Agreement and/or Philips' General Conditions

of Purchase. It is further denied that the alleged breach of certain conditions in the performance

of services was the cause of the Philips' alleged injuries and/or damages. Strict proof thereof is

demanded at time of trial.

       82.     Paragraph 82 is denied. In further response, Paragraph 82 states a conclusion of

law to which no response is necessary. To the extent that a response is deemed necessary, the

averments therein are specifically denied. Further, it is denied that PSN Labs breached any

agreement with Philips, including the 2019 Quality Agreement and/or Philips' General Conditions

of Purchase. It is further denied that the alleged breach of certain conditions in the performance

of services was the cause of the Philips' alleged injuries and/or damages. Strict proof thereof is

demanded at time of trial.




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       83.     Paragraph 83 is denied. In further response, Paragraph 83 states a conclusion of

law to which no response is necessary. To the extent that a response is deemed necessary, the

averments therein are specifically denied. Further, it is denied that PSN Labs breached any

agreement with Philips, including the 2019 Quality Agreement and/or Philips' General Conditions

of Purchase. It is further denied that the alleged breach of certain conditions in the performance

of services was the cause of the Philips' alleged injuries and/or damages. Strict proof thereof is

demanded at time of trial.



       WHEREFORE, defendant PSN Labs, LLC respectfully requests that judgment be entered

in its favor and against plaintiffs, Philips RS North America, LLC and Philips North America,

LLC with respect to all claims set forth in the Fourth Count (Breach of Contract) of the Complaint.



    COUNT V - BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR
                              DEALING

       84.     PSN Labs incorporates Paragraph 1 through 83 of this Answer as though set forth

at length herein.

       85.     Paragraph 85 is denied. In further response, Paragraph 85 states a conclusion of

law to which no response is necessary. To the extent that a response is deemed necessary, the

averments therein are specifically denied. Further, it is denied that PSN Labs breached any implied

covenant of good faith and/or fair dealing. It is further denied that the alleged breach of certain

implied covenants in the performance of services was the cause of the Philips' alleged injuries

and/or damages. Strict proof thereof is demanded at time of trial.

       86.     Paragraph 86 is denied. In further response, Paragraph 86 states a conclusion of

law to which no response is necessary. To the extent that a response is deemed necessary, the

averments therein are specifically denied. Further, it is denied that PSN Labs breached any implied
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covenant of good faith and/or fair dealing. It is further denied that the alleged breach of certain

implied covenants in the performance of services was the cause of the Philips' alleged injuries

and/or damages. Strict proof thereof is demanded at time of trial.

       87.     Paragraph 87 is denied. In further response, Paragraph 87 states a conclusion of

law to which no response is necessary. To the extent that a response is deemed necessary, the

averments therein are specifically denied. Further, it is denied that PSN Labs breached any implied

covenant of good faith and/or fair dealing. It is further denied that the alleged breach of certain

implied covenants in the performance of services was the cause of the Philips' alleged injuries

and/or damages. Strict proof thereof is demanded at time of trial.

       88.     Paragraph 88 is denied. In further response, Paragraph 88 states a conclusion of

law to which no response is necessary. To the extent that a response is deemed necessary, the

averments therein are specifically denied. Further, it is denied that PSN Labs breached any implied

covenant of good faith and/or fair dealing. It is further denied that the alleged breach of certain

implied covenants in the performance of services was the cause of the Philips' alleged injuries

and/or damages. Strict proof thereof is demanded at time of trial.

       89.     Paragraph 89 is denied. In further response, Paragraph 89 states a conclusion of

law to which no response is necessary. To the extent that a response is deemed necessary, the

averments therein are specifically denied. Further, it is denied that PSN Labs breached any implied

covenant of good faith and/or fair dealing. It is further denied that the alleged breach of certain

implied covenants in the performance of services was the cause of the Philips' alleged injuries

and/or damages. Strict proof thereof is demanded at time of trial.



       WHEREFORE, defendant PSN Labs, LLC respectfully requests that judgment be entered

in its favor and against plaintiffs, Philips RS North America, LLC and Philips North America,


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LLC with respect to all claims set forth in the Fifth Count (Breach of Implied Covenant of Good

Faith and Fair Dealing) of the Complaint.



                                  COUNT VI - NEGLIGENCE

       90.     PSN Labs incorporates Paragraph 1 through 89 of this Answer as though set forth

at length herein.

       91.     Paragraph 91 is denied. In further response, Paragraph 91 states a conclusion of

law to which no response is necessary. To the extent that a response is deemed necessary, the

averments therein are specifically denied. Further, it is denied that PSN Labs breached any

agreement with Philips, including the 2019 Quality Agreement and/or Philips' General Conditions

of Purchase, and/or that PSN Labs committed negligence in any respect. It is further denied that

the alleged professional negligence in the performance of services was the cause of the Philips'

alleged injuries and/or damages. Strict proof thereof is demanded at time of trial.

       92.     Paragraph 92 is denied. In further response, Paragraph 92 states a conclusion of

law to which no response is necessary. To the extent that a response is deemed necessary, the

averments therein are specifically denied.      Further, it is denied that PSN Labs committed

negligence in any respect. It is further denied that the alleged professional negligence in the

performance of services was the cause of the Philips' alleged injuries and/or damages. Strict proof

thereof is demanded at time of trial.

       93.     Paragraph 93 is denied. In further response, Paragraph 93 states a conclusion of

law to which no response is necessary. To the extent that a response is deemed necessary, the

averments therein are specifically denied.      Further, it is denied that PSN Labs committed

negligence in any respect. It is further denied that the alleged professional negligence in the




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performance of services was the cause of the Philips' alleged injuries and/or damages. Strict proof

thereof is demanded at time of trial.



          WHEREFORE, defendant PSN Labs, LLC respectfully requests that judgment be entered

in its favor and against plaintiffs, Philips RS North America, LLC and Philips North America,

LLC with respect to all claims set forth in the Sixth Count (Negligence) of the Complaint.


A JURY TRIAL IS HEREBY DEMANDED.




                                   AFFIRMATIVE DEFENSES

          94.   PSN Labs incorporates Paragraphs 1 through 93 above as though set forth at length

herein.

                                        First Affirmative Defense

          95.   Philips' Complaint fails to state a claim upon which relief can be granted.



                                    Second Affirmative Defense

          96.   Philips' Complaint fails to state a sustainable claim for special, indirect, incidental

and/or consequential damages against PSN Labs.

          97.   Indemnification for recall-related costs and expenses are not recoverable as special,

indirect, incidental, and/or consequential damages as they are not reasonably foreseeable and/or

not the natural and/or ordinary result of any purported breach of PSN Labs' scope of work.




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                                     Third Affirmative Defense

       94.     Philips' Complaint fails to state sustainable claims for punitive damages against

PSN Labs.



                                    Fourth Affirmative Defense

       95.     Philips' Complaint fails to state sustainable claims upon which an award of

attorneys' fees and costs can be based.



                                     Fifth Affirmative Defense

       96.     The claims against PSN Labs are barred, in whole or in part, by the doctrine of

laches and/or the applicable Statute of Limitations.

       97.     In 2021, Philips criticized, attempted to revoke, attempted to modify, and/or

attempted to create a second health hazard evaluation (HHE) upon the allegation that PSN Labs'

results contained within the initial HHE were faulty and/or otherwise inaccurate.

       98.     Also in 2021, Philips attempted to revert and/or otherwise alter the scope of the

recall, but the FDA refused to approve Philips' attempts and required that the recall remain a Class

I recall as initiated in June 2021 and it remains so at present.

       99.     Despite these attempts in 2021, Philips waited until end of July 2024 to file the

above-captioned matter against PSN Labs.


                                     Sixth Affirmative Defense

       100.    The claims against PSN Labs are barred, in whole or in part, by estoppel, waiver,

and/or unclean hands.




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                                   Seventh Affirmative Defense

       101.    If Philips sustained damages by reason of the matters alleged in the Complaint,

which is denied, then said damages were caused in whole or in part by Philips' own breach of

contract and fault and/or Philips' failure to properly design and/or manage its product (including

use of non-medical grade foam) and/or product line (including failure to timely and appropriately

address consumer complaints and/or take timely and appropriate action despite knowledge of

degradation of devices containing PE-PUR foam), and were not caused or contributed to in any

manner by any alleged fault, breach of contract, breach of warranty, or negligence of PSN Labs,

its officers, agents, contractors, servants, employees, or others for whom it was responsible.

       102.    The claims against PSN Labs are barred, in whole or in party, by Philips'

contributory negligence.

       103.    The claims against PSN Labs are barred and/or limited, in whole or in part, by

Philips' comparative negligence.


                                    Eighth Affirmative Defense

       104.    If Philips sustained damages as alleged in the Complaint, which is denied, said

damages were caused solely by or contributed to by the acts and fault of third parties and were not

caused or contributed to by any acts or fault of PSN Labs, its officers, agents, servants, employees,

contractors, or others for whom they were responsible.




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                                    Ninth Affirmative Defense

        105.    If Philips sustained damages as alleged in the Complaint, which is denied, Philips

has failed to mitigate its damages and any recovery is to be diminished by the degree of said failure

to mitigate.

        106.    If Philips sustained damages as alleged in the Complaint, which is denied, Philips

recovery is reduced by any amounts already received by Philips, from its insurers, affiliates, third-

parties, or otherwise.

                                    Tenth Affirmative Defense

        107.    At all times material to this action, the services rendered by PSN Labs were

appropriate, timely, and in accordance with the 2019 Quality Agreement, the applicable standards

in the professional community, and pursuant to PSN Labs' ISO accreditation.



                                  Eleventh Affirmative Defense

        108.    The claims against PSN Labs are barred or limited, in whole or in part, by Section

5.1 of the 2019 Quality Agreement given PSN Labs' compliance with the Quality Management

System requirements as set forth therein.

        109.    The claims against PSN Labs are barred or limited, in whole or in part, by Section

5.2 of the 2019 Quality Agreement given PSN Labs' compliance with maintenance of a corrective

and preventative action (CAPA) system as set forth therein.

        110.    The claims against PSN Labs are barred or limited, in whole or in part, by Section

5.3 of the 2019 Quality Agreement given PSN Labs' compliance with document control measures

as set forth therein.




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                                    Twelfth Affirmative Defense

        111.     The claims against PSN Labs are barred or limited, in whole or in part, by Section

6 of the 2019 Quality Agreement given PSN Labs' compliance with services control as set forth

therein.



                                  Thirteenth Affirmative Defense

        112.     The claims against PSN Labs are barred or limited, in whole or in part, by Section

7 of the 2019 Quality Agreement given PSN Labs' compliance with change control as set forth

therein.



                                  Fourteenth Affirmative Defense

        113.     The claims against PSN Labs are barred or limited, in whole or in part, by Section

8.1 of the 2019 Quality Agreement given PSN Labs' compliance with the Philips' audit procedures

as set forth therein.

        114.     The claims against PSN Labs are barred or limited, in whole or in part, by Section

8.1 of the 2019 Quality Agreement given PSN Labs' compliance with the internal audit procedures

as set forth therein.



                                   Fifteenth Affirmative Defense

        115.     The claims against PSN Labs are barred or limited, in whole or in part, by Section

10 of the 2019 Quality Agreement given PSN Labs' compliance with the review procedures as set

forth therein.




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                                  Sixteenth Affirmative Defense

       116.    The claims against PSN Labs are barred or limited, in whole or in part, by the

economic loss doctrine.



                                 Seventeenth Affirmative Defense

       117.    The claims against PSN Labs are barred or limited, in whole or in part, by the scope

of the indemnification language and Philips' failure to adequately allege coverage (or

indemnification) pursuant to same.

       118.    The claims against PSN Labs are barred or limited, in whole or in part, by the scope

of the indemnification language and Philips' own negligence negating same.



                                  Eighteenth Affirmative Defense

       119.    The claims against PSN Labs are barred or limited, in whole or in part, because

PSN Labs is not governed by ISO 13485:2016 for testing lab activities, but instead by ISO/IEC

17025:2017. PSN Labs at all times complied with the standards as set forth by ISO/IEC

17025:2017.



                                 Nineteenth Affirmative Defense

       120.    The claims against PSN Labs are barred or limited, in whole or in part, as Philips

had an opportunity to audit PSN Labs, including personnel and equipment. Further, PSN Labs is

annually audited by its registrar (PJLA). PSN Labs has had zero minor or major non-conformances

(NCRs), Corrective Action Requests (CARs), or Opportunities for Improvement (OFIs) for ISO

18562 testing from its registrar and/or Philips.




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                                 Twentieth Affirmative Defense

       121.    The claims against PSN Labs are barred or limited, in whole or in part, as PSN Labs

recommended to Philips that Philips contact the FDA to help address management and scope

concerns related to the then-contemplated recall of devices. Philips failed to timely follow PSN

Labs' recommendation.



                                Twenty-First Affirmative Defense

       122.    The claims against PSN Labs are barred or limited, in whole or in part, due to

Philips' failure to perform its obligations pursuant to the 2019 Quality Agreement, including:

           a. Philips' failure to inform PSN Labs that it was being asked to test devices that had

               failed multiple rounds of biocompatibility tests (as early as 2008) -- it is unethical

               to continue to test devices seeking "passing" results, and had PSN Labs known of

               the previous biocompatibility test failures, it would have declined the work

               pursuant to Philips' purchase orders;

           b. Philips failure to inform PSN Labs of the intent of the testing (which was, as later

               learned, to support a post-market risk assessment [PMRA] and potential recall);

               and

           c. Philips repeated failure to be truthful and/or factual in communications with PSN

               Labs related to the services requested.



                              Twenty-Second Affirmative Defense

       123.    The claims against PSN Labs are barred or limited, in whole or in part, as PSN Labs

suggested additional testing to address the PE-PUR foam degradation, but Philips refused.




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                               Twenty-Third Affirmative Defense

        124.   Philips incredulously alleges that it relied upon only one report of PSN Labs

(70025-RP-01, Rev G) issued on July 29, 2021 (more than a month after the recall began) to initiate

a recall of over 15 million devices and would have done so differently if not for PSN Labs' errors.

        125.   The U.S. Food and Drug Administration identified approximately 222,000

complaints that were improperly classified by Philips and all of which related to PE-PUR foam

degradation prior to PSN Labs commencing services in 2021 -- a clear sign there was a problem

with the device prior to any testing by PSN Labs.

        126.   The U.S. Food and Drug Administration also identified a 2019 corrective and

preventative action (CAPA) following multiple failed VOC tests and failed genotoxicity and

sensitization testing -- again, prior to any services performed by PSN Labs.

        127.   The failed genotoxicity and cytotoxicity testing are two assays that alone are

enough to trigger a recall -- and again known to Philips prior to any services performed by PSN

Labs.

        128.   Upon information and belief, Philips' own employees were calling for a recall no

later than 2020 -- and yet again, prior to any services and/or findings of PSN Labs.

        129.   Prior to PSN Labs testing, the PE-PUR foam had already tested positive for

cytotoxicity, tested positive for genotoxicity, and had failed out-of-the-box VOC testing.

        130.   Accordingly, PSN Labs had no impact on the recall as alleged.



        RESERVATION TO ASSERT ADDITIONAL AFFIRMATIVE DEFENSES

        131.   PSN Labs reserves the right to assert additional defenses to the claims set forth in

the Complaint at such time and to such extent as is warranted by pretrial discovery or other




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developments in this civil action and/or as otherwise permitted by law, rule, and/or this Honorable

Court.



         WHEREFORE, defendant PSN Labs, LLC respectfully requests that judgment be entered

in its favor and against plaintiffs, Philips RS North America, LLC and Philips North America,

LLC with respect to all claims set forth in the Complaint.


A JURY TRIAL IS HEREBY DEMANDED.




                                             Respectfully submitted,
                                             s/ Jamie R. Schumacher
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                                             William S. Speros
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                                CERTIFICATE OF SERVICE

       I certify that on September 27, 2024, the foregoing Answer and Affirmative Defenses, was

filed electronically with the Clerk of Court, using the CM/ECF system. Notice of this filing will

be sent to all parties who have appeared of record by operation of the Court's ECF system and

constitutes service of this filing under Rule 5(b)(2)(E) of the Federal Rules of Civil Procedure.

Those parties may access this filing through the Court's ECF system.




                                                      s/ Jamie R. Schumacher
                                                      Jamie R. Schumacher




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